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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


BIOSOFT (AUSTRALIA) PTY LTD., a                      )
proprietary limited company,                         )         Case No.: 2:24-cv-00762-DAO
                                                     )
                       Plaintiff,                    )
                                                     )            COMPLAINT FOR
               vs.                                   )        DECLARATORY JUDGMENT
                                                     )
EXOTROPIN, LLC, a Delaware                           )
Corporation, and DOES 1-5,                           )            Judge: Daphne A. Oberg
                                                     )
                       Defendants.                   )



                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Biosoft (Australia) Pty Ltd ("Biosoft" or "Plaintiff"), by and through its

undersigned attorneys, brings this Complaint for Declaratory Judgment against Exotropin, LLC

(“Exotropin”) and Does 1-5, (collectively, "Defendants"), and alleges as follows:




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                                            PARTIES

       1.      Plaintiff: Biosoft (Australia) Pty Ltd. (“Biosoft”) is a proprietary limited company

organized under the laws of Australia with its principal place of business at 56 Myoora Road,

Terrey Hills, NSW, Australia 2084. Biosoft engages in the development, marketing, and sale of

skincare products, including products under marks including “EXO SKIN.”

       2.      Upon information and belief, Exotropin, LLC is a Delaware Corporation with its

principal place of business at 1180 Avenue of the Americas, 8th Floor, New York, New York

10036, that sells skincare products from a retail location within the state of Utah and through

internet marketing accessible to consumers in Utah, under trademarks including

“EXOCEUTICALS,” “EXO SKIN SIMPLE,” “EXO BODY,” “EXO SUN,” “EXO H-SERUM,”

“EXO C-SERUM,” “EXO PLUS,” “EXO MEN,” and “EXO FACE,” having a retail location

identified as Cenegenics Park City, located at 1441 W Ute Blvd, #160, Park City, Utah.

       3.      Upon information and belief, Defendants Does are believed to be individuals,

corporations or other business entities having an potential interest in and to the marks

“EXOCEUTICALS,” “EXO SKIN SIMPLE,” “EXO BODY,” “EXO SUN,” “EXO H-SERUM,”

“EXO C-SERUM,” “EXO PLUS,” “EXO MEN,” “EXO FACE,” and “EXO SKIN.”



                                JURISDICTION AND VENUE

       4.      This cause of action is for a declaratory judgment pursuant to 28 U.S.C. § 2201(a)

that the use of the trademark EXO SKIN by Plaintiff on its packaging and in advertising or

promotion of its products does not infringe any rights possessed by Defendants, and particularly,

Defendant Exotropin, LLC, and does not constitute infringement of a registered mark under the

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Lanham Act § 32, 15 U.S.C. § 1114, or an unregistered mark under the Lanham Act § 43(a), 15

U.S.C. § 1125(a).

       5.      Subject matter jurisdiction for this declaratory judgment action lies under 28

U.S.C. §§ 1331 and 1338. Further, this action relates to non-infringement of a registered mark

under 15 U.S.C. § 1114, and non-infringement of an unregistered mark under 15 U.S.C. §

1125(a) and, therefore, this Court has jurisdiction pursuant to 15 U.S.C. § 1121. This Court has

supplemental jurisdiction over any remaining claims pursuant to 15 U.S.C. § 1367(a).

       6.      This Court has personal jurisdiction over the Defendants in that, upon information

and belief, Defendant Exotropin, LLC sells products through the internet, accessible to Utah

residents and therefore submitted to jurisdiction in the State of Utah pursuant to UTAH CODE

ANN. § 78B-3-205(1) and has had continuous and systematic contact with the state of Utah, and

venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(3).

       7.      This Court has personal jurisdiction over the Defendants in that, upon information

and belief, Defendant Exotropin, LLC directed a cease-and-desist letter to Biosoft’s Utah-based

attorney on September 27, 2024, alleging trademark infringement and demanding that Biosoft

cease all use of the “EXO SKIN” mark and therefore submitted to jurisdiction in the State of

Utah pursuant to UTAH CODE ANN. § 78B-3-205(1), (3) and has otherwise had continuous and

systematic contact with the State of Utah, and venue is proper in this District pursuant to 28

U.S.C. § 1391(b)(2),(3).

       8.      This Court has personal jurisdiction over the Defendants in that, upon information

and belief, Defendant Exotropin, LLC has a retail location in Park City, Utah, and Defendants

have directly, or contracting to supply goods through agents, transacted business and sold their

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products within the State of Utah and therefore submitted to jurisdiction in the State of Utah

pursuant to UTAH CODE ANN. § 78B-3-205(1), (2), (3) and has otherwise had continuous and

systematic contact with the state of Utah, and venue is proper in this District pursuant to 28

U.S.C. § 1391(b)(2),(3).



                                  GENERAL ALLEGATIONS

       9.      Plaintiff Biosoft has developed and marketed skincare products under the “EXO

SKIN” mark, expanding its presence in the market without incidents of confusion with

Defendants’ marks and was not aware of any alleged likelihood of confusion until receiving

Defendants’ recent allegations.

       10.     An actual controversy exists between the parties inasmuch as on September 27,

2024, Defendant Exotropin, through counsel, delivered to Plaintiff’s counsel in Utah a

cease-and-desist letter (attached as Exhibit A) alleging trademark infringement by Biosoft. The

letter claims that Biosoft’s use of “EXO SKIN” infringes Defendants’ “EXO” family of marks,

including registered marks for EXO SKIN SIMPLE, EXO FACE, and EXOCEUTICALS, and

that Biosoft’s use of the mark constitutes unfair competition under 15 U.S.C. §§ 1114 and 1125.

       11.     Defendant Exotropin’s cease-and-desist letter demanded that Biosoft cease all use

of “EXO SKIN” and any similar mark, whether in marketing, domain names, or social media,

and that it recall products bearing the mark; demanded that Biosoft withdraw all current

opposition proceedings (Opposition Nos. 91293937, 91293940, and 91293941 before the

Trademark Trial and Appeal Board in the U.S. Patent and Trademark Office) and abandon all of

its U.S. trademark applications for marks allegedly similar to Defendants’ “EXO” marks; and

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demanded that Biosoft preserve all documents related to the “EXO SKIN” mark and

subsequently destroy or withdraw all advertising and promotional materials bearing the mark;

and expressly threatened legal action, including claims for monetary damages, disgorgement of

profits, and attorney fees, alongside threats of injunctive relief.

        12.     Defendant Exotropin in its cease-and-desist letter dated September 27, 2024 to

Plaintiff Biosoft demanded that Plaintiff Biosoft cease and desist all use of the EXO SKIN mark.

        13.     Defendant Exotropin in its cease-and-desist letter dated September 27, 2024 to

Plaintiff Biosoft threatened Plaintiff Biosoft with litigation by stating: “Unless we receive

complete and immediate compliance with the demands set forth herein, we have been instructed

to take all necessary steps to enforce our client’s rights.”

        14.     Defendant will, unless restrained by this Court, continue to make threats and

accusations to Plaintiff based on Plaintiff’s use of the mark EXO SKIN. Such threats are entirely

improper, unsupported, and unenforceable by Defendants.

        15.     Plaintiff has no adequate remedy at law and thus seeks the equitable declaratory

relief requested herein.



                           CLAIMS FOR DECLARATORY RELIEF

Plaintiff Biosoft seeks a declaratory judgment that:

        A.      This Court declare that Plaintiff’s use of the mark EXO SKIN on its products and

                in its advertising for such products is not actionable and does not constitute

                trademark infringement, false advertising, unfair competition, false designation of

                origin, or dilution under Sections 32 and 43 of the Lanham Act, 15 U.S.C. §§

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               1114 and 1125, unfair competition under Utah Code Ann. § 13-5a-101, or any

               other violation of federal, state, or common law rights related to Plaintiffs’ use of

               the EXO SKIN mark, and that Defendants’ demands lack merit due to distinct

               differences between the parties’ goods and services, the marks, and the actual use

               of the marks in the marketplace, which minimize any likelihood of consumer

               confusion;

       B.      An injunction prohibiting Defendants from making further threats of litigation or

               taking legal action against Biosoft related to its use of the EXO SKIN mark;

       C.      An injunction ordering Defendants to cease and desist from any actions designed

               to interfere with Biosoft’s lawful use of the EXO SKIN mark, including threats to

               Biosoft’s business partners, distributors, or affiliates.



                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff Biosoft (Australia) Pty Ltd prays for relief as follows:

       A declaratory judgment affirming that Biosoft’s use of the EXO SKIN mark does not

infringe Defendants’ trademarks, nor does it constitute unfair competition, false designation of

origin, or any violation of Defendants’ rights under federal, state, or common law;

       An injunction prohibiting Defendants from making further threats of litigation or

initiating any legal action against Biosoft based on the unfounded allegations set forth in their

cease-and-desist letter, and directing Defendants to cease and desist from any actions or threats

that interfere with Biosoft’s lawful use of the EXO SKIN mark, including interference with

Biosoft’s distributors, agents, and other business relationships;

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           An award of costs and attorney’s fees to Biosoft in connection with this action and any

further relief as the Court deems just and equitable.

           DATED this 10th day of October, 2024.

                                                                     Respectfully Submitted,

                                                                      /s/ Grant R. Clayton
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                                                                     Attorneys for Plaintiff
                                                                     BIOSOFT (AUSTRALIA) PTY LTD.


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